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MIDDLE I)ISTRICT oF FLoRn)A
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sTuART WleoR,
Plaintiff`,
v. cAsE No.:@:[€{ rU/#@\C{, OEL~ LH - U);]K

LOWE’S HOME CEN'I`ERS, LLC,

Defendant.
/

DEFENDANT’S NOTICE OF REMOVAL OF ACTION

 

Pursuant to 28 U.S.C. §§ 1332, 1441, and l446(b), Defendant Lowe’s Home Centers,
LLC (“Lowe’s”), files this Notice to remove the above-styled action from the Circuit Court
of the Seventh Judicial Circuit, in and for Volusia County, Florida to the United States
District Court for the Middle District of Florida, on the following grounds:

l. Plaintiff: Plaintiff Stuart Winsor (“Plaintift”) is a resident of the State of
Florida. (Exhibit A, Compl. 1{ 4.) Plaintiff instituted this action by filing his Complaint with
the above-referenced state court. Plaintift’s Complaint, entitled Stuart Winsor v. Lowe’s
Home Centers, LLC, Case No. 2019-10573-CIDL, was filed with the state court on March
27, 2019.

2. Nature of the Action: 'I`his is a civil action involving allegations of
discrimination on the basis of religion and disability in violation of the Florida Civil Rights
Act of 1992, Fla. Stat. § 760.01 et seq. (“FCRA”). As recited in the Complaint, Plaintiff is

seeking “all damages recoverable under the Florida Civil Rights Act of 1992,” (Id.), which

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includes back pay, front pay, compensatory damages, punitive damages, costs, and
reasonable attomeys’ fees. Fla. Stat. § 760.11(5).

3. Amount in Controversy: Plaintiff seeks an unspecified amount of damages;
however, the amount in controversy in this case exceeds $75,000, exclusive of interest and
costs, In determining the amount in controversy for purposes of establishingjurisdiction, this
Court may consider Plaintiff`s claimed damages under the FCRA, including back pay, front
pay, compensatory damages, punitive damages, costs, and reasonable attorney’s fees. See
Morrison v. Allstate Indem. Co., 228 F.3d 1255, 1265 (1 lth Cir. 2000); Holley Equip. Co. v.
Credit Allz‘ance Corp., 821 F.2d 1531, 1535 (l lth Cir. 1987).

As described below, and though Lowe’s denies that Plaintiff is entitled to any relief,
Plaintiff"s estimated back pay, front pay, and compensatory damages together amount to
between $85,477.87 and $110,477.87 (without taking into consideration punitive damages,
costs, and reasonable attorney’s fees), which is well above the 375,000 threshold.

a. Back Pay: On January 2, 2018, Plaintif`f resigned from Lowe’s.
(Exhibit B, Declaration of Grace Ridley 116). At the time of Plaintiff’s resignation, Plaintiff`
was an hourly employee, and his average gross weekly wages were $465.19.‘ (Id. at 1[ 7).
Sixteen months separate the date of Plaintiff’s resignation, January 2, 2018, and the filing of
this removal notice. Further, it is reasonable to add an additional twelve months based
conservatively on a trial date that is at least one year out. See Munoz v. Oceanside Resorts,

lnc., 223 F.3d 1340, 1347 (11th Cir. 2000) (calculating back pay from the date of termination

 

' Plaintiff was compensated on an hourly basis. He earned $10.77 per hour (and earned overtime for hours
worked over 40 in a work week at his time-and-a-half rate of $16.15). Plaintiff typically worked at least 40
hours per work week and worked overtime during several of those work weeks. Plaintif`f"s average gross
weekly wages were approximately $465.19, which is based on his total wages divided by 6 work weeks. Note,
this calculation excludes his first work week in which he worked a partial work week.

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to the date of trial); see also M.D. Fla. L.R. 3.05(c)(2)(E) (providing that cases should be
completed in two years, and most in one year). Back pay, then, equals Plaintiff"s hourly
wages for at twenty-eight months (or 121 weeks). Thus, Plaintiff’s back pay from the date of
his resignation through a reasonable proposed trial date is $56,287.99 (121 weeks x
$465.19/week).2

b. Front Pay: If this Court were to calculate a potential award for front
pay for one year in the amount of Plaintiff"s hourly wage when last employed by Lowe’s,
Plaintiff’s award for front pay would total approximately $24,189.88 (e.g., 52 weeks x
$465.19/week).

c. Compensatory Damages: This Court may consider the compensatory
damages sought by Plaintiff when determining jurisdiction. See Holley Equip. Co., 821 F.2d
at 1535; Awad v. Cici Enter., 8:06-CV-1278-T-24TBM, 2006 WL 2850108, at *l (M.D. Fla.
Oct. 3, 2006). When calculating damages for emotional distress in cases like this, where the
plaintiff alleges general distress without medical or psychological evidence of emotional pain
and suffering (i.e., “garden variety” cases), courts typically will award damages in the range
of $5,000 to $30,000. City of Delray Beach v. DeSisto, 197 So. 3d 1206, 1210 (Fla. 4th DCA
2016).

d. Punitive Damages: The FCRA allows prevailing plaintiffs to recover a
maximum amount of $100,000.00 in punitive damages. Fla. Stat. 760.11(5). The Eleventh

Circuit has held that courts must consider punitive damages when determining whether a

 

2 Lowe’s neither admits that Plaintiff suffered any damages, nor adopts any particular measure of claimed
damages. Lowe’s submits the statements herein and the supporting Declaration of Grace Ridley in order to
demonstrate the potential amount in controversy for removal purposes only.

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lawsuit can satisfy the amount in controversy requirement Holley Equz'p. Co., 821 F.2d at
1535; see also Rae v. Perry, 392 F. Appx. 753, 755 (l lth Cir. 2010) (“Punitive damages
must be considered when determining the jurisdictional amount in controversy in diversity
cases.”).

e. Attorney’s Fees: Moreover, it is well settled in the Eleventh Circuit
that “[w]hen a statute authorizes the recovery of attorney’s fees, a reasonable amount of
those fees is included in the amount in controversy.” Morrison, 228 F.3d at 1265. Because
the FCRA allows the recovery of reasonable attorney’s fees, such fees are included in the
amount in controversy calculation. See Fla. Stat. 760.1 1(5).

4. Defendant: Lowe’s is a corporation that is organized under the laws of North
Carolina with its principal place of business in North Carolina, and that conducts business in
Volusia County, Florida. (Exhibit B, Declaration of Grace Ridley 1111 3, 4).

5. Timing of Notice of Removal: Plaintiff served Lowe’s with a summons and a
copy of the Complaint on April l, 2019, on which date Lowe’s first received notice that this
action was removable. Pursuant to 28 U.S.C. § l446(b), Lowe’s files this Notice of Remova|
within 30 days of the date on which it received Plaintiff’s Complaint and a summons in this
case.

6. Jurisdiction: This Court has jurisdiction of this action pursuant to 28 U.S.C.
§ 1332 (diversity), because Plaintiff is a citizen of the State of Florida, Lowe’s is a North
Carolina corporation having its principal place of business in North Carolina, and the amount
in controversy exceeds $75,000 exclusive of interest and costs. See, e.g., Williams v. Best

Buy Co., 269 F.3d 1316, 1319-20 (l lth Cir. 2001).

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7. Venue: As stated in the Complaint, the events giving rise to Plaintiff’s claims

allegedly arose in Volusia County, Florida. (Exhibit A, Compl. 11 5.) Therefore, pursuant to

28 U.S.C. § 1391 and Local Rule 3.4(d), venue is proper in the Orlando Division of the

United States District Court for the Middle District of Florida.

Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, and orders served

upon Lowe’s are attached to this Notice as Composite Exhibit C.

Date: April 29, 2019.

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/s/ Reed L. Russell

Reed L. Russell

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Attomeys for Defendant Lowe’s Home Centers,
LLC

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CERTlFICATE OF SERVICE
I HEREBY CERTIFY that on April 29, 2019, a true and correct copy of the foregoing
was served via regular U.S. Mail to the following:

David M. Cozad, Esq.

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Attorney for Plaintiff

/s/ Reed L. Russell
Attorney

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